
693 S.E.2d 657 (2010)
HENSLLEY
v.
NC DEPT. OF ENVIRONMENT.
No. 525A09.
Supreme Court of North Carolina.
February 19, 2010.
J. Blanding Holman, TV, for Nancy Hensley, et al.
Edwin Lee Gavin, II, Sueanna P. Sumpter, Assistant Attorneys General, for NC Dept. of Environment.
Benne C. Hutson, Charlotte, Ramona Cunningham O'Bryant, Greensboro, for Mountain Air Development Corp.
Rufus C. Allen, Assistant Attorney General, for NCDENR, Division of Land Resource.
William L. Richards, Bryson City, for Amicus.
James Patrick Longest, Jr., Raleigh, for Catawba Riverkeeper Foundation, et al.
The following order has been entered on the motion filed on the 18th of February 2010 by Blue Heron Whitewater LLC, Endless River Adventures, Inc., and FB Canoe Racing, Inc. for leave to file Amicus Curiae Brief:
"Motion Allowed by order of the Court in conference this the 19th of February 2010."
